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                     IN THE UNITED STATES DISTRICT COURT FOR THE
                            NORTHERN DISTRICT OF ILLINOIS

Tony Jackson (M-07462)                        )
                                              )
                        Plaintiff,            )
                                              )                 Case No. 19 C 50269
                v.                            )
                                              )                 Hon. Iain D. Johnston
Dr. Zahtz, et al.,                            )
                                              )
                        Defendants.           )

                           MEMORANDUM OPINION AND ORDER

        Tony Jackson, an Illinois prisoner, filed this pro se civil rights action under 42 U.S.C.

§ 1983, claiming alleged deficiencies in the treatment of his persistent gastrointestinal conditions

while incarcerated at the Dixon Correctional Center (“Dixon”). The current Defendants consist of

three of his healthcare providers who contracted with or are employed by Wexford Health Sources,

Inc. (“Wexford”) – Dr. Merrill Zahtz, Nurse Practitioner (NP) Susan Tuell, and Nurse Sarah

Woodin (collectively “the Wexford Defendants”) – and the former Dixon placement officer,

Jeanette Colbacchini, who is employed by the Illinois Department of Corrections (“IDOC”). Both

the Wexford Defendants and Officer Colbacchini have filed motions for summary judgment,

which for the reasons stated below, are both granted in full.
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                                                 BACKGROUND

         Except where noted, the following facts are undisputed. 1

A.       The Parties

         At all relevant times, Plaintiff was an IDOC inmate incarcerated at Dixon. (Dkt. 181,

Wexford Defs.’ LR 56.1 Stmt., ¶ 1.)

         The Wexford Defendants consist first of Defendant Dr. Zahtz, who is a licensed physician

who was employed by Wexford as its Medical Director at Dixon from December 4, 2017, through

March 30, 2022. (Id. at ¶ 2.) At that point, he was then transferred to a different prison. (Id.)

Second, NP Susan Tuell is an Illinois-licensed nurse practitioner, who was employed by Wexford

as a nurse practitioner at the Dixon from August 19, 2013, through the present. (Id. at ¶ 3.) Third,

Ms. Sarah Woodin is a Licensed Practical Nurse (“LPN”), employed by Wexford to work at

Dixon. (Id. at ¶ 4.) The Wexford Defendants’ job duties included providing medical care and

treatment to the inmates at Dixon. (Id. at ¶¶ 2-4.)

         Defendant Colbacchini was the placement officer at Dixon during the relevant time period.

(Dkt. 190, Colbacchini LR 56.1 Stmt., ¶ 2.)




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             Plaintiff has filed a response to the Wexford Defendants LR 56.1 Statement of Material Facts. (Dkt. 203.)
LR 56.1(e)(3). Plaintiff has also filed a more generalized responsive pleading to Defendant Colbacchini’s motion.
(Dkt. 198.) Plaintiff’s factual responses frequently do not comply with the Local Rules, see LR. 56.1(e)(2), (3), in
that they do not cite to the record when disputing Defendants’ asserted facts and consist of legal argument or
unsupported conclusions. The Court will disregard these responses. See Rivera v. Guevara, 319 F. Supp. 3d 1004,
1018 (N.D. Ill. 2018) (court may disregard any part of factual statement or response that consists of legal arguments
or conclusions). And where Plaintiff has not properly responded to a certain fact or has admitted it, the Court will
accept it as true to the extent supported by the record. Lamz, 321 F.3d at 683. Nonetheless, although the Court is
entitled to demand strict compliance with Local Rule 56.1, see Coleman v. Goodwill Indus. of Se. Wis., Inc., 423 F.
App’x. 642, 643 (7th Cir. 2011) (unpublished), it will generously construe the facts identified by Plaintiff to the extent
they are supported by the record, or he could properly testify to them. See Gray v. Hardy, 826 F.3d 1000, 1005 (7th
Cir. 2016) (courts may construe pro se submissions leniently). The Court will not look beyond the cited material,
however. See Johnson v. Cambridge Indus., Inc., 325 F.3d 892, 898 (7th Cir. 2003) (“[D]istrict courts . . . are not
required to scour every inch of the record for evidence that is potentially relevant to the summary judgment motion
before them.”).


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B.       Medical Distribution

         Inmates at Dixon receiving prescription medications are generally required to pick up

their medications through the prison pharmaceutical services at distributions, referred to as

“medicine passes”, that take place at regularly scheduled intervals during the day. (Dkt. 181, ¶¶

5-8.) Medical staff coordinate with correctional staff to authorize inmate movement so they may

collect their medications. (Id.) An inmate who receives medications multiple times a day must

collect their medications during each scheduled medicine pass. (Id.) Inmates may not collect

multiple doses of medications during a single medicine pass. (Id.) An inmate who does not

collect his medication during the scheduled medicine pass, without prior authorization, is

considered to have refused that dosage of his medication. LPN’s, including Ms. Woodin, are

not authorized to distribute prescription medications to inmates outside of their scheduled

dosage times without an order from a physician or nurse practitioner. (Id.)

C.       Plaintiff’s Medical Care and Treatment

         Plaintiff testified that he has had a non-specific bowel condition, characterized by frequent

defecation, pain, and rectal bleeding, since around 2010, but which did not become “bad” until his

transfer to Dixon, and which worsened thereafter. (Id., ¶ 9.) Plaintiff’s first complaints about his

bowel condition at Dixon appear in his medical records on March 23, 2017, when Plaintiff

presented at a nursing sick call with symptoms suggestive of a chronic bowel condition. (Id., ¶

10.) He complained of bleeding and frequent bowel movements (ten times per day). (Id.) He

reported to the attending nurse that this was typical for him and that he was “[j]ust tired of the

frequency that he [had] to use the bathroom.” (Id.) The nurse documented that he had a pending

appointment – date not specified – to the University of Illinois at Chicago Hospital (“UIC”) at

which his symptoms would be addressed further. (Id.) On or about March 31, 2017, Plaintiff



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returned to the nurse sick call with a complaint of worsening stomach pain. (Id., ¶ 11.) He also

reported that he had lost weight, although the attending nurse documented that Plaintiff had rather

had a slight weight increase. (Id.) The nurse also again documented the pending UIC appointment,

but also put Plaintiff on the Nurse Practitioner line for further evaluation. (Id.) On July 11, 2017,

Plaintiff underwent a CT scan of his pelvis. (Id., ¶ 12.) The radiologist noted, among other

things, that there was “no evidence for small bowel involvement to suggest Crohn’s disease[]” at

this time. (Id.) Rather, the radiologists’ impression was that Plaintiff had a “[t]hickening of the

rectosigmoid suggestive of ulcerative colitis.” (Id.)

        On October 10, 2017, Plaintiff underwent a colonoscopy at the UIC GI clinic (presumably

the appointment referred to in the March 2017 nursing notes), at which time a biopsy was taken

for further diagnostic testing. (Id., ¶ 13.) The results were again indicative of ulcerative colitis.

(Id.) But it was noted that no features of Crohn’s disease were found. (Id.) The UIC GI clinic

recommended that Plaintiff: return for a follow-up in approximately two months, that his Delzicol

prescription (used to treat ulcerative colitis and Chron’s disease) be increased to 400 mg, directing

him to take “2 tabs PO TID indefinitely” (i.e., 2 tabs orally, three times per day, indefinitely); and

for him to resume his previous diet. (Id., ¶ 14.) On or about October 18, 2017, NP Kristina

Mershon submitted a referral request for Plaintiff to return to UIC’s GI clinic for a further follow-

up. (Id., ¶ 14; id., Ex. C at Ex. 6.)

        Plaintiff did not return to the UIC GI clinic in two months as recommended; instead, he

returned five months later, on March 14, 2018. (Dkt. 203, P’s Resp., ¶ 14.) On that date, March

14, 2018, Plaintiff had a follow-up with Dr. Itishree Trivedi at the UIC GI clinic. (Dkt. 181, ¶ 15.)

Dr. Trivedi reviewed prior diagnostic imaging and lab reports and concluded that Plaintiff in fact

did have mild Chron’s colitis. (Id.). Dr. Trivedi also reviewed contemporary lab reports which



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revealed Plaintiff had an active c-diff (clostridioides difficile) infection. (Id.). To treat the

infection, Plaintiff was prescribed a 14-day course of vancomycin in “oral pill” form, four times a

day, with instructions that Plaintiff hold off on starting Prednisone until completing the course of

antibiotics. (Id.) To treat the Chron’s disease, Dr. Trivedi further recommended that Plaintiff’s

Delzicol dosage be increased even further and changed to Lialda, which are both brand names for

the generic drug mesalamine, and is a medication used to treat Chron’s colitis. (Id.). Dr. Trivedi

further prescribed follow-up as needed if Plaintiff’s symptoms did not improve within a week.

(Id.). Dr. Trivedi also discussed the possibility of colorectal surgery; although he did not

recommend a colectomy at that time for Plaintiff’s case, he did suggest a surgical consult because

Plaintiff nonetheless expressed interest in the procedure. (Id.); (Dkt. 203, ¶ 16.)

       The next day, on March 15, 2018, Dr. Zahtz therefore noted that Plaintiff would be started

on vancomycin and also submitted a non-urgent referral request to send Plaintiff to the colorectal

surgery clinic at UIC in one month. (Dkt. 181, ¶ 16.) On March 20, 2018, Dr. Zahtz saw Plaintiff

for follow-up after the appointment at UIC. (Dkt. 181, ¶ 18.) Dr. Zahtz ordered the 14-day course

of vancomycin for Plaintiff. (Id., ¶ 19.) Per UIC’s recommendation, Dr. Zahtz also increased the

dose of Plaintiff’s Delizcol, but did not change it to Lialda, and planned to start Plaintiff on

prednisone (a steroid used to treat inflammatory issues) for three months after completing his

course of vancomycin. (Id.) He also ordered moistened hygiene wipes for Plaintiff, one pack

every two weeks for two months. (Id., ¶ 20.)

       Dr. Zahtz’s order was for Plaintiff to receive his four-times daily vancomycin in liquid,

rather than pill form, as had been recommended by Dr. Trivedi. (Id., ¶ 19; (Dkt. 203, ¶ 18.) Dr.

Zahtz testified that Vancomycin is a first-line antibiotic for treating a c-diff infection. (Dkt. 181,

¶ 17.) He explained that the medication can be provided in capsule or liquid form. (Id.) And he



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testified that there is no difference in the efficacy of the vancomycin depending on whether it is

provided in capsule or liquid form. (Id.) But the liquid form needs to be refrigerated. (Dkt. 203,

¶ 17.) According to Plaintiff, Dr. Trivedi had ordered the antibiotic in pill form because Plaintiff

himself specifically asked for the pills. (Id.) Plaintiff had told Dr. Trivedi that Dixon’s staff in

the prison’s pharmacy “has a habit” of preparing all the inmates’ medications “hours early and

then leav[ing] them out until every housing unit comes and gets their meds”, and that is why

Plaintiff requested the pill form. (Id.)

       Plaintiff started his 14-day course of vancomycin (in liquid form) on March 21, 2018. (Dkt.

181, ¶ 21.) Dr. Zahtz noted in Plaintiff’s chart on that day that IDOC’s administration and

Wexford’s Regional Medical Director directed Plaintiff to be housed in a single cell in the prison

infirmary for 24 hours in order to avoid spreading the c-diff infection while beginning his course

of vancomycin, (although Dr. Zahtz had told nursing staff earlier that day that housing in the

infirmary was not necessary if Plaintiff could maintain a clean toilet). (Id., ¶ 21; (Dkt. 203, ¶ 21.)

       Plaintiff’s medication administration records show he refused some doses of his

vancomycin on March 22, 24, 25, and 26, 2018. (Dkt. 181, ¶ 21.) Plaintiff says that he also refused

some doses on March 28, 29, and 31, 2018 and on April 3, 2018. (Dkt. 203, ¶ 22.) Plaintiff

explained that the reason for his refusals was that he believed the medication had been sitting out

too long and was no longer sufficiently cold. (Id.)

       On or about April 16, 2018, Plaintiff was seen at UIC’s colorectal surgery clinic and

complained of ongoing bloody diarrhea and abdominal pain. (Dkt. 181, ¶ 22.) The physician at

UIC, Dr. Nordenstam, planned to present Plaintiff’s case at an IBD conference. (Id.) He

recommended a follow-up with his office once he had a chance to confer with Dr. Trivedi. (Id.)

Dr. Nordenstam also recommended that Plaintiff be tested again for a possible c-diff infection.



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(Id.)   On April 25, 2018, Dr. Zahtz saw Plaintiff for his medical writ follow-up after the

appointment at UIC; Dr. Zahtz noted that he was implementing Dr. Nordenstam’s plans and

recommendations and that Dr. Zahtz was awaiting the results of the c-diff lab work. (Id.) Dr.

Zahtz also noted that Plaintiff was told by UIC physicians that he could not be prescribed NSAIDs

due to his Chron’s colitis, and Dr. Zahtz made a note that Plaintiff was not to receive NSAIDs

“indefinitely”. (Dkt. 181, Ex. B at Ex. 6.)

        On April 26, 2018, Dr. Zahtz ordered Plaintiff to receive another 14-day course of

vancomycin, again in liquid form, because his April 16th lab results were positive for c-diff. (Dkt.

181, ¶ 23.) Plaintiff was admitted to the prison infirmary at that time to ensure that he completed

this course of antibiotics, which he did this time without missing doses. (Id.)

        On May 16, 2018, Dr. Zahtz ordered more moistened hygiene wipes for Plaintiff, one

pack every two weeks for two months. (Id., ¶ 24.) On July 17, 2018, an order was placed to

allow Plaintiff one pack of personal wipes every two weeks, until the end of 2018. (Id., ¶ 25.)

        On or about August 20, 2018, Plaintiff was scheduled to return to UIC’s

colorectal clinic, but the appointment did not take place; the parties dispute whether Plaintiff

refused the appointment (because he objected to one of the transport drivers) or whether it was

instead cancelled by either UIC or the prison. (Id., ¶ 26.)

        On October 2, 2018, NP Tuell saw Plaintiff to evaluate his Delzicol prescription. (Id.,

¶ 27.) Plaintiff told NP Tuell that, depending on what he eats, he would either have solid stools or

explosive diarrhea, and he listed off foods that caused problems for him. (Id.) Plaintiff also

reported on-going back pain, but NP Tuell noted that he had limited options for non-steroidal anti-

inflammatory (NSAID) medications due to his on-going stomach problems. (Id.) NP Tuell noted

that when Plaintiff was previously prescribed Delzicol 1200mg four times per day on March 15,



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2018, he was simultaneously prescribed vancomycin for an active c-diff infection. (Id., ¶ 28.) NP

Tuell further noted that this infection had since resolved. (Id.) Based on the resolution of his c-

diff infection, the end of his vancomycin prescription, and in consultation with and upon the

suggestion of a pharmacist at Boswell Pharmacy, the company that supplies medications to the

Dixon Correctional Center, NP Tuell discussed with Plaintiff decreasing the dosage of his Delzicol

prescription from 1200mg to 800mg as a maintenance dose. (Id., ¶ 29.) A decrease in the dose

of Plaintiff’s Delzicol from 1200mg to 800mg was medically appropriate in her clinical opinion,

NP Tuell testified, because the typical maximum dosage of Delzicol is 800mg and Plaintiff’s

symptoms were now improving. (Id., ¶¶ 29, 70.) Plaintiff, however, denies that he “would have

entertained” such a discussion. (Dkt. 203, ¶ 29.) NP Tuell also ordered that Plaintiff’s Delzicol

be provided on a “DOT” (direct observed therapy) basis to ensure that Plaintiff would take his

medications. (Dkt. 181, ¶ 30.) She also noted that she had talked with a scheduler in the writ office

to confirm that Plaintiff’s follow-up appointment at UIC’s had been rescheduled, which it had

been. (Id.) NP Tuell finally ordered a back brace for Plaintiff’s complaints of back pain, and

planned a follow-up visit in two weeks to re-evaluate his condition following the decrease in the

dose of his Delzicol. (Id.).

       On October 8, 2018, Dr. Zahtz saw Plaintiff following an unrelated off-site audiology

appointment. (Id., ¶ 31.) Plaintiff informed Dr. Zahtz that his IBD symptoms (more frequent

bowel movements) and joint pain had started to recur since the recent decrease in the dose of his

Delzicol. (Id.) In response to Plaintiff’s concerns, Dr. Zahtz returned Plaintiff to his prior dose of

Delzicol the next day, October 9, 2018. (Id.; Dkt. 203, ¶ 231.) The pharmacist from Boswell

inquired about Dr. Zahtz’s order to increase Plaintiff’s Delzicol, as the maximum dose is typically

800mg, but the pharmacist approved the increase upon receipt of additional information about the



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UIC GI clinic’s plan of care for Plaintiff. (Dkt. 181, ¶ 32.) Dr. Zahtz also noted Plaintiff had a

pending appointment at the UIC GI clinic. (Id., ¶ 31.)

        On October 16, 2018, NP Tuell saw Plaintiff for his scheduled two-week follow-up to

discuss his Delzicol prescription. (Id., ¶ 33.) Plaintiff reported that since she changed his

medications, his Chron’s symptoms had worsened. (Id.) But NP Tuell noted that Dr. Zahtz had

since returned Plaintiff’s Delzicol to its original dosage of 1200mg, and she made no modifications

to his prescriptions at that time. (Id. ¶ 33-34.)

        On or about January 10, 2019, Dr. Nancy Lank prescribed a three-month course of Boost

protein drinks and theraupetic high-protein, high calorie diet for one-year for Plaintiff to help

maintain and improve his weight. (Id., ¶ 35.) She also prescribed Plaintiff a 60-day course of

Naproxin, which is an NSAID. (Dkt. 203, ¶ 35.)

        On March 1, 2019, Plaintiff returned to UIC’s GI clinic for a follow-up appointment. (Id.,

¶ 36.) UIC physician, Dr. Nelson, noted that Plaintiff reported that after the latest course of

vancomycin was completed in May 2018, Plaintiff had gone from 15 liquid bowel movements a

day to eight formed bowel movements daily, and had been “doing well” until December 2018.

(Id.)   Since December 2018, Plaintiff had noticed more blood in his stools, an increase in the

number of bowel movements during the day, and lower abdominal pain. (Id.) Plaintiff reported

that he had been drinking Boost protein drinks, and Dr. Nelson noted that his weight had increased

from 215 to 220 pounds. (Id.) Dr. Nelson also documented that Plaintiff was obese and did not

appear to have anorexia. (Id.) Dr. Nelson further noted that Plaintiff had taken Naproxin for ankle

pain despite the directive not to take NSAIDs. (Id.)

        Dr. Nelson recommended further lab tests, including further testing for the presence of c-

diff, and a colonoscopy “when next available.” (Id., ¶ 37.) Dr. Nelson recommended continuing



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Plaintiff’s high-dose of Delzicol at 4.8g per day because Plaintiff was still not interested in more

advanced treatment of his Chron’s with an immunomodulator drug, and recommended further

treatment with vancomycin for c-diff if the testing was positive. (Id.) Additionally, Dr. Nelson

also recommended that Plaintiff received flu, pneumonia, and Hepatitis B vaccines. (Id.)

        On Mach 11, 2019, Dr. Zahtz saw Plaintiff for a follow-up from his appointment at UIC’s

GI clinic. (Id., ¶ 38.) He made notes that he was implementing Dr. Nelson’s recommendations

(including follow-up referrals to UIC and the immunizations), and he noted that he was awaiting

the results of the c-diff lab test. (Id.)

        The testing came back positive for c-diff, so on March 11, 2019, Plaintiff began another14-

day course of vancomycin. (Id., ¶ 38; Dkt. 203, ¶ 36.) This time, he received the Vancomycin in

a pill form, and it was ordered “KOP,” meaning “Keep on Person” so he could take the pills in his

cell four times a day as prescribed. (Id.) According to Plaintiff, when he went to pick up the pills,

LPN Woodin did give him the ordered course, but also told Plaintiff that the pills were expensive

and he would not continue to receive them “constantly”. (Dkt. 203, ¶ 39.) Plaintiff believes the

liquid form of vancomycin “don’t do anything for me”. (Id.)

        On or about March 27, 2019, Dr. Lank continued Plaintiff’s hygienic wipes, one pack per

week for six months. (Dkt. 181, ¶ 41.) According to Plaintiff, a worker in Central Supplies

“constantly refused” to give him the wipes. (Dkt. 203, ¶ 41.)

        On April 5, 2019, NP Tuell reviewed a renewal request to continue Plaintiff’s Boost

protein drinks. (Dkt. 181, ¶ 42.) NP Tuell noted that day that Plaintiff’s weight was up to 250lbs,

which is considered obese. (Id.) As such, NP Tuell decided to allow Plaintiff’s Boost protein

drinks to expire, and to follow-up with him in his chronic care clinics. (Id.) On April 11, 2019,

Plaintiff’s January 10, 2019 three-month prescription for his Boost protein drinks ended. (Id.)



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Plaintiff states in his response that his weight was 238 lbs on this day, not 250, but he submitted

no medical record documenting that weight. (Dkt. 203, ¶ 42.)

       On April 17, 2019, Plaintiff saw LPN Woodin at the healthcare unit and demanded a Boost

drink. (Dkt. 181, ¶ 43.) However, Plaintiff’s 3-month prescription for his Boost drinks (ordered

on 1/10/19) had expired. (Id.) LPN Woodin did not dispense Plaintiff a Boost drink that day

because the prescription had expired. (Id.) That same day, Plaintiff saw Dr. Lank, who noted that

Plaintiff’s weight had decreased by 18 pounds from 250 lbs on March 23, 2019, and Dr. Lank

wrote Plaintiff a new prescription for a Boost drink that day. (Dkt. 203, ¶ 43.) Plaintiff states that

he showed LPN Woodin the new prescription but she refused to provide him with a Boost protein

shake. (Id.)

       On July 6, 2019, Plaintiff did not show up for his evening medications. (Dkt. 181, ¶ 44.)

Plaintiff says that he is hard of hearing, and an officer did not come and get him for med-line.

(Dkt. 203, ¶ 44.)

       On July 11, 2019, NP Tuell saw Plaintiff following an appointment at UIC’s ENT and GI

clinics. (Dkt. 181, ¶ 45.) NP Tuell prescribed Plaintiff Robaxin – a muscle relaxant – for his back

pain, which she noted Plaintiff was requesting. (Id.) Plaintiff denies that he requested Robaxin.

(Dkt. 203, ¶ 44.)

       On July 26, 2019, NP Tuell saw Plaintiff at a Chronic Care Clinic. She noted Plaintiff’s

chronic bowel condition to be good and stable. (Dkt. 181, ¶ 46.) She also noted that Plaintiff

weighed 241 pounds. (Id.) Additionally, she noted that all recorded weight must be observed by

staff because she, and other medical staff, had seen Plaintiff weighing himself prior to his

appointments and then underreporting his weight to make it appear in his records that he was

losing weight. (Id.)


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        On August 6, 2019, NP Susan Tuell saw Plaintiff for complaints of increased abdominal

pain and continued complaints of diarrhea. (Dkt. 181, ¶ 47.) NP Tuell examined Plaintiff and

noted he did not have any significant abdominal tenderness and had normal abdominal bowel

sounds. (Id.) Plaintiff also used the restroom during the appointment, and NP Tuell noted that

Plaintiff’s stool was brown, soft, formed, and not diarrhea, and that he had bright red blood on his

toilet tissue. (Id.) Bright red blood on toilet tissue suggests the presence of an external anal fissure,

as compared to internal bleeding in the GI tract. (Id.) NP Tuell assessed Plaintiff with stomach

pain and bright red blood on toilet tissue, and questioned whether Plaintiff had a self-inflicted

wound. (Dkt. 181, ¶ 48.) She prescribed Plaintiff prednisone, which is a steroid used to treat

inflammatory conditions such as Plaintiff’s colitis. (Id.) She also requested copies of Plaintiff’s

UIC records and ordered additional lab tests. (Id.)

        On August 14, 2019, NP Tuell saw Plaintiff for a follow-up appointment. (Dkt. 181, ¶ 49.)

NP Tuell noted that she did not have any blood on her glove after performing a rectal exam of

Plaintiff, and that a hemoccult test of Plaintiff’s stool was negative, indicating the lack of internal

bleeding in Plaintiff’s GI tract.      (Id.)   NP Tuell assessed Plaintiff with rectal bleeding and

prescribed him preparation H. (Id.) She also noted that Plaintiff would be returning to UIC shortly.

(Id.)

        Plaintiff denies self-inflicting any injury and denies under-reporting his weight. (Dkt. 203,

¶ 47.) Plaintiff says he discussed his weight loss with NP Tuell at the series of appointments in

late July through August 2019, showing her in particular a medical record dated July 16, 2019,

which did record his weight at 275 lbs. (Id.) According to Plaintiff, she became angry and

expressed that the 275-pound recorded weight must have been an error because “nobody could”

drop from 275 to 240 in under 20 days. (Id.) She did not listen to Plaintiff’s complaints that “his



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body was getting worse”. (Id.) She also, without discussing it with Plaintiff, ordered that Plaintiff

had to receive several of his medications at med-pass instead of being permitted to keep them in

his cell. (Id., ¶ 49.)

        On September 4, 2019, Plaintiff returned to UIC’s GI Clinic. (Dkt. 181, ¶ 50.) Plaintiff

reported that his gastrointestinal symptoms had worsened over the past few weeks; specifically,

he was having around 15 loose and bloody bowel movements a day along with abdominal pain.

(Id.) Due to these reported symptoms, the UIC staff was concerned that Plaintiff had another c-

diff infection and flare-up of irritable bowel disease. (Id.) The GI clinic recommended

hospitalizing Plaintiff to rule out infectious causes of, and to treat, his symptoms. (Id.)

        Therefore, immediately after his GI appointment, Plaintiff was admitted to the UIC

Hospital.    (Dkt. 181, ¶ 51.) Plaintiff’s lab results were negative for c-diff.        (Id.)   While

hospitalized, Plaintiff was given a seven-day course of IV steroids to treat his irritable bowel flare-

up. (Id.) Plaintiff had a “partial response” to the treatment: his bowel movements decreased from

15 to 6-8 daily with continued flecks of blood, and his abdominal pain decreased. (Id.) Because

Plaintiff’s response to the IV steroids was only “partial”, the UIC staff decided to escalate

Plaintiff’s treatment plan for his colitis/Chron’s disease from 5-ASA treatment (Delzicol) to

biologic therapy consisting of Inflectra infusions combined with weekly doses of oral

methotrexate. (Id.) Plaintiff was given an Inflectra infusion on September 12, 2019 and an oral

dose of methotrexate on September 15, 2019. (Id.)

        On September 18, 2019, Dr. Zahtz saw Plaintiff for a follow-up after Plaintiff had been

discharged from UIC hospital. (Dkt. 181, ¶ 52.) He noted the treatment that Plaintiff had received,

including the Inflectra infusion to treat his Chron’s disease. (Id.) Per UIC’s recommendation, Dr.

Zahtz planned to refer Plaintiff back to UIC’s GI clinic for additional IV infusions of Remicade (a



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biologic similar to Inflectra) the following week and the month thereafter. (Id.)

        On September 19, 2019, Dr. Zahtz submitted a therapeutic diet order form for a low fiber

diet for Plaintiff, per the recommendation of the physicians at UIC. (Dkt. 181, ¶ 53.)

        On September 26, 2019, Dr. Zahtz saw Plaintiff for a follow-up after his Remicade IV

infusions at UIC. (Dkt. 181, ¶ 54.) H e noted that Plaintiff weighed nearly 292 lbs, was gaining

weight, and was feeling bloated, likely due to his current treatment regime. (Id.) Plaintiff also

requested another prescription for Boost protein supplement drink. (Id.) However, given

Plaintiff’s unhealthy weight, a Boost drink was not necessary for Plaintiff at that time. (Id.) Dr.

Zahtz planned to refer Plaintiff back to UIC’s GI lab for further Remicade IV infusions. (Id.)

Plaintiff denies that he reported feeling bloated. (Dkt. 203, ¶ 54.)

        Despite Dr. Zahtz’s order for a low fiber diet, in October 2019, Plaintiff was not receiving

his therapeutic low fiber diet from the Dixon cafeteria. (Dkt. 203, ¶ 53.) Instead, he received

meals with food that burned his stomach and caused rectal bleeding. (Id.)

        On October 16, 2019, NP Tuell saw Plaintiff for several issues, including his complaint

that he was not receiving his special diet at the cafeteria window. (Dkt. 181, ¶ 55.) She reviewed

Plaintiff’s chart and found Dr. Zahtz’s order that was sent to the dietary unit regarding his special

diet. (Id.) NP Tuell wrote Plaintiff a permit for a low fiber diet that he could carry with him to the

cafeteria. (Id.)

        On October 17, 2019, Dr. Zahtz saw Plaintiff for follow-up after he returned from UIC’s

GI clinic for his IV Remicade. (Dkt. 181, ¶ 56.) He renewed the order for Plaintiff’s hygienic

wipes, at two boxes per month through June 2020. (Id.) He also renewed Plaintiff’s order for

Boost drinks, to continue through February 2020. (Dkt. 203, ¶ 55.) He also noted “low fiber diet”

under additional orders. (Dkt. 181, ¶ 56.)



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       Plaintiff “never received” his low fiber diet or the Boost drinks. (Dkt. 203, ¶¶ 56, 58.) The

Dixon healthcare pharmacy told Plaintiff multiple times that the Boost orders were “denied”. (Dkt.

203, ¶ 56.) Dr. Zahtz testified in an affidavit that at no time was he aware that Plaintiff was not

receiving Boost protein shakes as ordered, being denied his special diets, or not receiving wetted

toilet wipes. (Dkt. 181, ¶¶ 64-65.) If he had made such a complaint to Dr. Zahtz, he would have

noted it in his records. (Id.) Dr. Zahtz also testified that Dixon’s medical staff is not responsible

for providing inmates with their prescribed special diets, which are provided by the prison’s dietary

unit. (Id.) Plaintiff states, however, that he in fact complained to Dr. Zahtz multiple times “face

to face” and made him aware through grievances that he was not receiving these items. (Dkt. 203,

¶¶ 64-65.) Plaintiff says that his complaints were the reason that Dr. Zahtz “re-sent” his therapeutic

diet order. (Id.) A notation on Dr. Zahtz’s September 19, 2019 therapeutic diet order for the low

fiber diet states that it was “resent to dietary” on December 12, 2019. (Dkt. 203, ¶ 55.)

       On November 13, 2019, Dr. Zahtz saw Plaintiff for an appointment that was supposed to

be a UIC follow-up. (Dkt. 181, ¶ 57.) Plaintiff had an appointment scheduled at the GI clinic

for his Remicade IV infusion, but he had refused to go because he did not have a “flex-cuff”

permit in his file to allow that would exempt him from using the standard black box restraints

for writ. (Id.) Plaintiff stated that he wanted to go to his Remicade infusions, so Dr. Zahtz

rescheduled the appointment and wrote him a flex-cuff permit. (Id.) At that time, Dr. Zahtz and

Plaintiff also discussed that his Boost drink had been discontinued because, in part, it was soy-

based, and Plaintiff claimed he had a soy allergy. (Dkt. 181, ¶ 58.) They also discussed that

Plaintiff’s weight—which was 295lbs at that time—had increased and the drink was no longer

needed. (Id.)

       On December 26, 2019, Dr. Zahtz saw Plaintiff for a follow-up after his recent appointment



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at UIC’s GI clinic for his Remicade IV infusions on December 19, 2019.               (Dkt. 181, ¶ 59.)

Plaintiff reported ongoing diarrhea-like stools with blood and requested a colonoscopy. (Id.)

Plaintiff and Dr. Zahtz discussed in detail the importance of portion control when eating and to

add foods like rice to his diet, to take his fish oil, folate and vitamin-D supplements, and to continue

using his prescribed enemas, suppositories, and creams as needed. (Id.)            Dr. Zahtz referred

Plaintiff back to the UIC GI clinic for further Remicade infusions and planned to further evaluate

his complaints of diarrhea. (Id.)

       On January 3, 2020, NP Tuell saw Plaintiff for a follow-up. (Dkt. 181, ¶ 60.) She noted

that Plaintiff was concerned about a potential flareup in his bowel symptoms. (Id.) He reported

that his rectal bleeding had stopped but he has some 10 to 13 small liquid stools a day. (Id.) On

exam, Plaintiff’s abdomen had normal bowel sounds in all four quadrants and was non-tender on

deep palpation. (Dkt. 181, ¶ 61.) (Id.) NP Tuell also noted that he had recently received an IV

Remicade infusion at UIC. (Id.) She advised Plaintiff that his symptoms should improve with his

recent Remicade infusion. (Id.) Lastly, NP Tuell instructed Plaintiff to follow-up as needed and

to report any further deterioration in his condition. (Id.)

       Plaintiff continued to return to UIC’s GI clinic for follow-ups and IV Remicade infusions

for his gastrointestinal issues approximately every 60 days in 2020 through March 2022. (Dkt.

181, ¶ 62.)

       On dates not specified, Plaintiff says that he spoke to Dr. Zahtz “face to face” requesting

to be housed in the Healthcare Unit. (Dkt. 203, ¶ 66.) He also filed numerous grievances

throughout 2020 and 2021 complaining that his requests to be housed in the Healthcare Unit were

being denied. (Dkt. 203, pg. 15-20.) He stated in those grievances that both Dr. Zahtz and non-

party Monica Carpenter, the Head of Nursing, told him that he was too young and his conditions



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were not sufficiently serious to qualify for housing in the healthcare unit. (Id.) On a form dated

July 30, 2020, referring Plaintiff for continued IV Remicade infusions, a UIC physician stated, “ok

to house in medical ward given complexity, defer final decision to Dr. Zahtz.” (Dkt. 203, ¶ 66.)

Dr. Zahtz has averred that aside from the limited circumstances where Plaintiff tested positive for

c-diff and needed to be single-celled in the prison infirmary to begin his antibiotics, Plaintiff’s

colorectal symptoms on their own did not warrant a medical placement in the prison’s health care

unit. (Dkt. 181, ¶ 66.)

D.     Additional Facts Regarding Defendant Colbacchini

       Plaintiff got into altercations with his cellmate over his constant use of the toilet in their

cell. (Dkt. 190, ¶ 8.) Plaintiff often had to sleep on the toilet, and he also regularly needed to

insert anal suppositories in bed. (Dkt. 198, pg. 1-2.) These actions “cause[] problems” for

Plaintiff’s cellmates. (Id.)

       Plaintiff asked Colbacchini to move him to the Healthcare Unit in 2018 and 2019. (Dkt.

190, ¶ 9.) Plaintiff also asked Colbacchini to move him back to Housing Unit 35 or 42 because he

“was in a comfortable situation” in those Units. (Id., ¶ 10.)

       Colbacchini did not have authority to place individuals in custody in the Healthcare Unit,

that decision was made by facility medical staff. (Id., ¶ 11.) When Colbacchini received a request

to be housed in the Healthcare Unit, she would inform the individual to make the request with

medical staff in the Healthcare Unit. (Id., ¶ 12.)

E.     This Lawsuit

       Plaintiff filed the operative amended complaint in this action in March 2021. (See Dkt. 45,

Amended Compl.) In May 2021 this Court screened the amended complaint and allowed Plaintiff

to proceed on claims deliberate indifference to his serious medical needs in connection with his



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medical treatment at Dixon for his persistent gastrointestinal conditions. (See Dkt. 48.) Plaintiff

had alleged a number of deficiencies with his treatment, specifically that he experienced a delays

in follow-up appointments with GI specialists at UIC, received vancomycin in liquid rather than

pill form, had the dosage of Delzicol improperly decreased, did not receive his therapeutic diets

that he had been prescribed, did not receive moistened wipes he had been prescribed, and was

refused housing in the healthcare unit. (See id.)

                                      LEGAL STANDARD

       On summary judgment, the movant has the burden of showing that “no genuine dispute as

to any material fact” exists and that it is “entitled to judgment as a matter of law.” Fed. R. Civ. P.

56(a). Material facts are those that might affect the outcome of the suit. Anderson v. Liberty Lobby

Inc., 477 U.S. 242, 248 (1986). No “genuine” dispute exists if a court would be required to grant

a Rule 50 motion at trial. Id. at 250–51. The Court must construe the “evidence and all reasonable

inferences in favor of the party against whom the motion under consideration is made.” Rickher

v. Home Depot, Inc., 535 F.3d 661, 664 (7th Cir. 2008). But a bare contention by the non-moving

party that an issue of fact exists does not create a factual dispute, Bellaver v. Quanex Corp., 200

F.3d 485, 492 (7th Cir. 2000), and the non-moving party is “only entitled to the benefit of

inferences supported by admissible evidence, not those supported by only speculation or

conjecture,” Grant v. Trs. of Ind. Univ., 870 F.3d 562, 568 (7th Cir. 2017) (cleaned up). “Summary

judgment is only warranted if, after doing so, [the Court] determine[s] that no jury could

reasonably find in the nonmoving party's favor.” Blasius v. Angel Auto, Inc., 839 F.3d 639, 644

(7th Cir. 2016).



                                            ANALYSIS



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       “The Eighth Amendment’s prohibition on cruel and unusual punishment protects prisoners

from prison conditions that cause the wanton and unnecessary infliction of pain, including grossly

inadequate medical care.” Lockett v. Bonson, 937 F.3d 1016, 1022 (7th Cir. 2019) (cleaned up).

To prevail on a claim that his medical care violated the Eighth Amendment, the plaintiff must

establish that: (1) he suffered from an objectively serious medical condition and (2) the defendants

were deliberately indifferent to that condition. See id. at 1022 (citing Arnett v. Webster, 658 F.3d

742, 750 (7th Cir. 2011)).

A.     Wexford Defendants

       The parties agree that Plaintiff’s gastrointestinal issues constitute a serious medical

condition, and so the question is whether Plaintiff presented enough evidence to allow a reasonable

jury to conclude that the Wexford Defendants were deliberately indifferent. Lockett, 937 F.3d at

1022. Plaintiff did not.

       Deliberate indifference consists of more than negligence or malpractice; the defendant

must know of and disregard an excessive risk to the prisoner's health or safety. Farmer v. Brennan,

511 U.S. 825, 837 (1994). The requisite culpable state of mind for deliberate indifference is akin

to criminal recklessness. See, e.g., Cesal v. Moats, 851 F.3d 714, 725 (7th Cir. 2017); King v.

Kramer, 680 F.3d 1013, 1018 (7th Cir. 2012). Because this is a case where the prison medical

professionals made significant efforts to treat Plaintiff’s bowel symptoms, the Court needs

evidence that the treatment was “such a substantial departure from accepted professional judgment,

practice, or standards, as to demonstrate that the person responsible actually did not base the

decision on such a judgment” in order to infer culpability. Johnson v. Rimmer, 936 F.3d 695, 707

(7th Cir. 2019) (quoting Youngberg v. Romeo, 457 U.S. 307, 323 (1982)). Put similarly, “[t]o

survive summary judgment,” in a case like this, an inmate “need[s] to present evidence sufficient



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to show that [a medical professional’s] decision was ‘so far afield of accepted professional

standards as to raise the inference that it was not actually based on a medical judgment.’” Whiting

v. Wexford Health Sources, Inc., 839 F.3d 658, 664 (7th Cir. 2016) (citation omitted). In assessing

a claim that a prisoner was subjected to treatment by medical professionals devoid of medical

judgment, the court should “look at the totality of an inmate's medical care when considering

whether that care evidences deliberate indifference to serious medical needs.” Riley v. Waterman,

126 F.4th 1287, 1295 (7th Cir. 2025) (quoting Petties v. Carter, 836 F.3d 722, 728 (7th Cir. 2016)

(en banc)).

       The record in this case establishes that between 2018 and 2021, Plaintiff saw Dixon

medical personnel (including Defendants) and outside GI specialists at UIC regularly, often

multiple times monthly. When Plaintiff saw Defendants Dr. Zahtz and NP Tuell (and others), he

was routinely examined and evaluated for his symptoms and underlying condition, diagnosed with

the assistance of laboratory testing, prescribed steroids for bowel-symptom flare-ups, prescribed

therapeutic diets and supplements, ordered and renewed palliatives on his behalf, such as

moistened wipes, enema creams, and muscle relaxants, and advised regarding diet and weight. In

addition, and most importantly, Dr. Zahtz repeatedly referred Plaintiff out of the prison to see the

GI specialists at UIC on multiple occasions, and also approved his hospitalization to treat a flare-

up on one occasion.     Dr. Zahtz conducted prompt follow-up appointments after Plaintiff’s

appointments at UIC, and he then implemented in substantial part the specialist’s treatment plan(s)

for managing Plaintiff’s ulcerative colitis/Chron’s disease and c-diff.        The GI specialists

recommended that Plaintiff receive an increased dosage of Delzicol above the standard maximum

dosage, and Dr. Zahtz prescribed that increased dose for years, even later over-ridding the

pushback from Boswell pharmacy. The GI specialists later recommended that Plaintiff’s treatment



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be escalated to biologic therapy, and Dr. Zahtz therefore referred Plaintiff out to UIC for steady

courses of IV Remicade infusions for years. The GI specialists recommended that Plaintiff’s c-

diff infections be treated with courses of the antibiotic vancomycin, and Dr. Zahtz prescribed it

each time. The GI specialists recommended that Plaintiff receive a low-fiber diet, and Dr. Zahtz

entered a therapeutic diet order for a low-fiber diet. And when Plaintiff complained that he was

not receiving the diet from prison kitchen staff, NP Tuell wrote Plaintiff a permit for a low fiber

diet that he could carry with him to the cafeteria.

       Considering this totality of medical care Plaintiff received, there was no Eighth

Amendment violation here. See Riley, 126 F.4th at 1296 (affirming summary judgment for prison

medical professionals based on totality of care despite prison physicians’ minor deviations from

specialist’s recommendations); Kyles v. Williams, 679 F. App’x 497, 499-500 (7th Cir. 2017)

(prison medical professionals were entitled to summary judgment because a series of appointments

and reasonable medical attention for prisoner’s knee issues demonstrated that providers did not

consciously disregard a serious risk of harm); Wilson v. Adams, 901 F.3d 816, 821–22 (7th Cir.

2018) (affirming grant of summary judgment on claim of deliberate indifference where “totality”

of care showed proper attention to inmate’s pain). Although Plaintiff experienced periodic flare-

ups of his bowel symptoms, the course of treatment outlined above alleviated them for significant

periods. There is nothing in the record that Plaintiff has pointed to, nor in the sequence of events

described above, that suggests that the medical decisions made by the Wexford Defendants were

“so far afield of accepted professional standards as to raise the inference that [they] [were] not

actually based on medical judgment.” Norfleet v. Webster, 439 F.3d 392, 396 (7th Cir. 2006); see

also Johnson, 936 F.3d at 707; Whiting, 839 F.3d at 664.




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       The summary judgment evidence indicates only that Plaintiff was dissatisfied with his care.

But inmates are not entitled to “unqualified access to healthcare,” Holloway v. Delaware Cty.

Sheriff, 700 F.3d 1063, 1073 (7th Cir. 2012), the best care possible, Arnett v. Webster, 658 F.3d

742, 754 (7th Cir. 2011), or to receive “a specific outcome,” Page v. Obaisi, 318 F. Supp. 3d 1094,

1104 (N.D. Ill. 2018); see Leiser v. Hoffman, No. 20-2908, 2021 WL 3028147, at *3 (7th Cir. July

19, 2021) (“doctors are not deliberately indifferent when they are unable to eliminate completely

a patient’s pain”) (citing Snipes v. DeTella, 95 F.3d 586, 592 (7th Cir. 1996)). Nonetheless, the

Court addresses each of Plaintiff’s non-frivolous dissatisfactions below.

       1. Early Delay in Outside Treatment

       Plaintiff first complains that he waited five months to initially be seen at the UIC GI clinic

in March 2018, whereas the UIC physicians had recommended a two-month follow-up time after

his October 2017 colonoscopy. He also complains that he did not start vancomycin until six days

after he returned from the GI clinic. Plaintiff, however, has not brought forth evidence that these

delays amounted to deliberate indifference.

       Delays in treatment that aggravate an injury or needlessly prolong an inmate’s pain may

violate the Constitution. See Gomez v. Randle, 680 F.3d 859, 865–66 (7th Cir. 2012). But “the

length of delay that is tolerable depends on the seriousness of the condition and the ease of

providing treatment.” Smith v. Knox Cty. Jail, 666 F.3d 1037, 1040 (7th Cir. 2012) (cleaned up);

see also Petties v. Carter, 836 F.3d 722, 730 (7th Cir. 2016) (en banc) (observing that while

“inexplicable delay in treatment which serves no penological purpose” can support a claim,

“delays are common in the prison setting with limited resources”).

       Here there is nothing in the record that suggests that any Wexford Defendant purposefully

delayed the scheduling of Plaintiff’s appointment (indeed a non-party entered the referral), or that



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Plaintiff required a more immediate evaluation. In any event, reasonable delays caused by the

need to obtain approval for a consultation with a specialist and to schedule the specialist do not

violate the Constitution. See Berry v. Peterman, 604 F.3d 435, 442 (7th Cir. 2010) (“Anyone who

has ever visited a doctor’s office knows that some delays in treatment are inevitable, particularly

absent a life-threatening emergency. Such delays are even more likely in the prison

environment.”).

       Moreover, Plaintiff also was obligated to bring forth “verifying medical evidence” that the

alleged delays of which he complains caused him some degree of harm. Williams v. Liefer, 491

F.3d 710, 714–15 (7th Cir. 2007) (“In cases where prison officials delayed rather than denied

medical assistance to an inmate, courts have required the plaintiff to offer ‘verifying medical

evidence’ that the delay (rather than the inmate’s underlying condition) caused some degree of

harm.”). While expert testimony can be verifying medical evidence, medical records alone can

suffice. Id.; see also Walters v. Germaine, No. 19-cv-763, 2023 WL 2374346, at *3 (S.D. Ill. Mar.

6, 2023) (verifying evidence can include expert opinions, medical records, treatment notes or

physician notes). But a plaintiff’s own testimony that he experienced untreated symptoms during

the delay does not suffice. Lisle v. Eovaldi, No. 16-cv-00422, 2020 WL 1287947, at *7 (S.D. Ill.

Mar. 18, 2020) (citing Johnson v. Obaisi, No. 16-cv-4046, 2020 WL 433872, at *7 (N.D. Ill. Jan.

28, 2020)). But that is the sole evidence of record on this issue – nothing in the medical records

here demonstrates that these delays themselves caused Plaintiff distinct injury.

       2. Vancomycin in Liquid Form

       Plaintiff next takes issue that he was originally prescribed vancomycin in liquid, rather than

pill, form to treat his first c-diff infection. At Plaintiff’s request, UIC-physician Dr. Trivedi

recommended the pill form because Plaintiff believed that prepared doses of liquid medicines by



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Dixon pharmacy staff linger outside of the refrigerator for too long. Plaintiff emphasizes that Dr.

Zahtz did not follow Dr. Trivedi’s recommendation, and he also asserts that the liquid form of

vancomycin is not effective for him.

       Contrary to Plaintiff’s suggestion, Dr. Zahtz did not ignore Dr. Trivedi’s recommendation:

he prescribed Plaintiff vancomycin, which is undisputed as the proper treatment for a c-diff

infection. Dr. Zahtz testified that he exercised his discretion to prescribe the liquid, rather than

pill, form because there is no difference in the efficacy between the two. This too is undisputed –

Dr. Trivedi recommended the pill form only due to Plaintiff’s request, not because of a difference

in efficacy or any other medical reason.

       But even assuming for argument’s sake that Dr. Zahtz’s order for liquid vancomycin did

constitute a medical disagreement with Dr. Trivedi, a departure from an outside specialist’s

recommendations alone rarely establishes deliberate indifference. See Riley v. Waterman, No. 23-

1253, 2025 WL 304274, at *6 (7th Cir. Jan. 27, 2025) (“[d]isagreement ... between two medical

professionals[ ] about the proper course of treatment generally is insufficient, by itself, to establish

an Eighth Amendment violation.”) (internal citations and quotations omitted). Prison medical

professionals may exercise professional judgment in determining a prisoner’s care in light of his

needs and the facility’s resources, and their decisions are entitled to deference. See Johnson, 936

F.3d at 707; see also Walker v. Wexford Health Sources, Inc., 940 F.3d 954, 965 (7th Cir. 2019)

(prison medical professionals “may choose from a range of acceptable courses” without running

afoul of the Constitution); Summers v. Standiford, No. 19 C 2978, 2022 WL 3908673, at *5 (N.D.

Ill. Aug. 30, 2022) (“jail personnel have latitude in applying outside recommendations in light of

the unique challenges and policies only present in a correctional setting.”). There is certainly

nothing in this record to justify departure from these general rules, particularly given that the liquid



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vancomycin was in fact effective. The first course in late March 2018 failed, but Plaintiff admits

that he refused at least some doses (he needed four daily) on eight out of the 14-day course. When,

in late April 2018, he in fact properly completed the course of antibiotics in liquid form, Plaintiff

himself reported to the UIC GI clinic during his March 2019 visit that his c-diff had resolved and

he had been doing well up until December 2018, i.e., for eight months.

       Plaintiff also describes an incident in March 2019 where LPN Woodin told Plaintiff that

the pill form of vancomycin was expensive and Wexford would not continuously prescribe

Plaintiff pills. Nonetheless, LPN Woodin did dispense the prescribed pills at that time, and

Plaintiff’s second c-diff infection resolved. This interaction therefore does not indicate that LPN

Woodin disregarded a serious medical need.

       3. Temporary Decrease in Delzicol Dosage

       Plaintiff’s main complaint directed at NP Tuell in particular is that she decreased his

Delzicol dosage on October 2, 2018. But as documented in her medical records, it is undisputed

that she conferred with the Boswell pharmacist and decreased the dosage based on a clinical

judgment that Plaintiff’s higher dose – which exceeded the general recommended maximum

dosage – was no longer warranted given that his c-diff infection had resolved and his bowel

symptoms had lessened. Plaintiff vaguely speculates throughout his response that Nurse Tuell

generally based her decisions on a misguided belief that he was malingering, but that is sheer

speculation. Plaintiff’s personal beliefs and his bald speculation are not enough to defeat summary

judgment. See generally Weaver v. Champion Petfoods USA Inc., 3 F.4th 927, 934 (7th Cir. 2021)

(a   party   “must   present   more    than   mere    speculation    or   conjecture   to   defeat a

summary judgment motion.”); see also Siegel v. Shell Oil Co., 612 F.3d 932, 937 (7th Cir. 2010)

(summary judgment is the ‘put up or shut up’ moment in a lawsuit.”). Plaintiff has presented no



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evidence that NP Tuell’s decision to decrease the Delzicol dose was not based on the medical

judgment clearly reflected in the relevant medical records and was so inadequate “that it

demonstrated an absence of professional judgment.” Johnson, 5 F.4th at 826; see Sain v. Wood,

512 F.3d 886, 894-95 (7th Cir. 2008) (a medical professional is “entitled to deference in treatment

decisions unless no minimally competent medical professional would have so responded under

these circumstances”). No reasonable juror could conclude that NP Tuell’s exercise of medical

judgment amounted to deliberate indifference.

       Additionally, it is undisputed that Dr. Zahtz returned Plaintiff to the higher dose of Delzicol

on October 9, 2018 – a mere seven days later. Although Plaintiff reported to Dr. Zahtz that his

symptoms increased during this brief time on the lowered dose, and the Court credits this, the

record also is devoid of evidence showing that the lowered dose for only a week endangered

Plaintiff’s health or caused other more serious health problems. The Seventh Circuit explained in

Jackson v. Pollion, 733 F.3d 786, 790 (7th Cir. 2013): “No matter how serious a medical condition

is, the sufferer from it cannot prove tortious misconduct (including misconduct constituting a

constitutional tort) as a result of the failure to treat the condition without providing evidence that

the failure caused injury or a serious risk of injury. For there is no tort—common law, statutory,

or constitutional—without an injury, actual or at least probabilistic.” Id. (citation omitted). In

Jackson, the Seventh Circuit rejected the contention that a three-week lapse in calcium channel

blockers for an inmate diagnosed with hypertension rose to the level of a Constitutional violation,

even though his blood pressure did rise during that time. Id. at 788-789. The Court explained, “the

slight elevation above the normal range” was not enough to establish that his long-term health had

been endangered. Id. The Court then concluded that the inmate’s lawsuit was “plainly meritless.”




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Id. at 790. Plaintiff likewise has no redressable injury here based on a one-week lapse in the higher

dose of his Delzicol medication.

       4. Failure to Renew Order for Boost Protein Drinks

       Next, Plaintiff complains that NP Tuell failed to renew Dr. Lank’s January 2019 three-

month order for Boost protein drinks in April 2019, that Dr. Zahtz failed to order him Boost protein

drinks in September 2019, and that although Dr. Zahtz briefly reversed that decision in October

2019, he again discontinued the order in November 2019. Plaintiff has stated that the drinks helped

him maintain and gain weight despite his frequent bowel movements, and he believes they were

still necessary for that purpose on those dates.

       As an initial matter, Dr. Lank’s assessment in January 2019 that the Boost drinks were

warranted was not binding on his later treaters, who were free to exercise their medical judgments

as of the time that Plaintiff presented for care. See Jackson v. Kotter, 541 F.3d 688, 697 (7th Cir.

2008) (“There is not one “proper” way to practice medicine in a prison, but rather a range of

acceptable courses based on prevailing standards in the field.”)); see also Scott v. Khan, No. 20 C

4120, 2022 WL 3576682, at *5 (N.D. Ill. Aug. 19, 2022) (“a mere difference of opinion” between

medical professionals does not show that one correctional doctor’s care was inadequate).

       And here the record establishes that such judgment was exercised by the Wexford

Defendants in discontinuing the Boost drinks. As the medical records reflect, and as both NP Tuell

and Dr. Zahtz testified, they declined to renew orders for Boost protein drinks because they each

no longer assessed a need based on Plaintiff’s increased weight. There is some dispute as to

Plaintiff’s precise weight at the time of his April 2019 appointment with NP Tuell – she says he

weighed 250 lbs and Plaintiff says he weighed 238 lbs. NP Tuell’s medical records also reflect

that she believed Plaintiff at times under-reported his weight, but Plaintiff denies this. These



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disputes are not material, however. Undisputed evidence shows that Plaintiff had in fact recently

gained weight when NP Tuell discontinued the order: the UIC GI clinic reported Plaintiff’s weight

at 220 lbs on March 1, 2019, and thus even Plaintiff’s figure of 238 lbs in April 2019 reflects a

sizable weight gain at the time. And Plaintiff does not dispute that he weighed 292 lbs in

September 2019 and 295 lbs in November 2019.

       What is material is whether the providers exercised their medical judgment in

discontinuing the Boost drinks, and clearly they did. The medical records plainly document their

assessments that Plaintiff’s weight range no longer necessitated Boost drinks. Plaintiff has come

forward with no evidence with which to suggest his treaters’ assessment in justifying the

discontinuation was inappropriate and so far afield from standard practices that no reasonable

provider would have done so. His own personal desire to continue the drinks and belief that they

were still needed is not enough to establish deliberate indifference. See Broadfield v. Williams,

768 Fed. App’x 544, 549 (7th Cir. 2019) (explaining that prisoner “was not entitled to his preferred

set of medications and treatments” so long as his medical providers “did not act recklessly”);

Williams v. Patton, 761 Fed. App’x 593, 597 (7th Cir. 2019) (“mere disagreement with a medical

professional’s otherwise reasonable treatment is not a basis for a constitutional claim”) (citing

Greeno v. Daley, 414 F.3d 645, 653 (7th Cir. 2005)).

       Plaintiff also faults LPN Woodin for refusing him a Boost drink on April 17, 2019. He

says that he made her aware that Dr. Lank had renewed the previously expired order that same

day. But LPN Woodin explained that she denied Plaintiff’s demand for a Boost drink because the

prior order had expired, and she did not have an order on file at the time. Her denial does not

amount to deliberate indifference when she believed that she was following orders from Plaintiff’s

treaters. In any event, the record is devoid of evidence showing that one single missed dose of a



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Boost drink endangered Plaintiff’s health or caused other more serious health problems, so that

missed dose cannot be the basis of a constitutional claim. See Jackson, 733 F.3d at 788-90.

       5. Failure to Receive Prescribed Therapeutic Diets and Moistened Wipes

       Next, Plaintiff seeks to hold both Dr. Zahtz and NP Tuell liable because, at times, he was

not receiving his therapeutic diets (high calorie and low fiber) from the prison cafeteria and was

not receiving his moistened wipes from the supplies department. But it is undisputed that Dr.

Zahtz repeatedly entered (and re-sent) therapeutic diet orders in accordance with the UIC GI

specialists’ recommendations. It is also undisputed that when Plaintiff complained to NP Tuell

that the cafeteria was nonetheless not providing him with the diets, she wrote Plaintiff a permit for

a low fiber diet that he could carry with him to the cafeteria. It is further undisputed that Dr. Zahtz

repeatedly renewed the orders for moistened wipes. These actions are antithetical to deliberate

indifference, and no reasonable juror could conclude otherwise.

       The Court credits Plaintiff’s account that the kitchen staff and supplies department were

nonetheless, at times, not providing the therapeutic diets or wipes. And although it is disputed

whether Dr. Zahtz was aware of this, at the summary judgment stage, the Court will credit Plaintiff

(the non-movant) that he made Dr. Zahtz aware repeatedly. Nonetheless, it is undisputed that the

dietary unit and supplies department, not the prison’s medical staff, was responsible for ultimately

supplying the diets and wipes. Plaintiff is mistaken that the Constitution demanded that the

Wexford Defendants take additional action above re-sending the orders and issuing the special

permit. The Seventh Circuit has “long recognized” that correctional institutions typically divide

tasks “between medical professionals and other security and administrative staff.” McGee v.

Parsano, 55 F.4th 563, 569 (7th Cir. 2022). “Public officials do not have a free-floating obligation

to put things to rights . . . .” Burks v. Raemisch, 555 F.3d 592, 595 (7th Cir. 2009). “Bureaucracies



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divide tasks; no prisoner is entitled to insist that one employee do another’s job. The division of

labor is important not only to bureaucratic organization but also to efficient performance of tasks;

people who stay within their roles can get more work done, more effectively, and cannot be hit

with damages under § 1983 for not being ombudsmen.” Id.

       6. Denial of Infirmary Housing

       Plaintiff next claims that he should have been permanently housed in Dixon’s healthcare

unit due to the “complexity” of his gastrointestinal issues and in particular because of his frequent

toilet use. He faults Dr. Zahtz for repeatedly denying his requests.

       Here, again, there is no material dispute that Dr. Zahtz exercised medical judgment in

denying Plaintiff’s requests. He and the nursing staff explained, as reflected in various grievances

that Plaintiff filed, that the severity level of Plaintiff’s bowel symptoms, considered in conjunction

with his age, did not warrant infirmary housing. Plaintiff has not come forward with any evidence

to suggest this determination was so far afield from standard practice so as to indicate the absence

of judgment. Indeed, Plaintiff has not produced any evidence – not even his own testimony –

showing that because he was not housed in the Healthcare Unit, his gastrointestinal conditions

were aggravated or otherwise caused him pain. Instead, he testified that he sought infirmary

housing to have his own toilet and more privacy. See Ballard v. Harmston, No. 16 C 8166, 2024

WL 942424, at *6 (N.D. Ill. Mar. 5, 2024) (“There is no evidence whatsoever . . . that the move to

general population caused Ballard pain or that there was any medical reason that Ballard should

have stayed in the medical unit.”). Again, Plaintiff’s unilateral desire for specific care, in this

instance permanent infirmary housing, alone does not suffice to show deliberate indifference. See

Thomas v. Martija, 991 F.3d 763, 772 (7th Cir. 2021) (“[i]t is not enough that the plaintiff simply




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believes the treatment was ineffective or disagrees with the doctor’s chosen course of treatment”)

(internal citations omitted).

       Plaintiff also points to the July 30, 2020, note from a UIC physician that stated, “ok to

house in medical ward given complexity, defer final decision to Dr. Zahtz.” But this note by its

own terms deferred the decision to Dr. Zahtz, and likewise does the Constitution grant such

deference. Dr. Zahtz was allowed to substitute a determination he deemed appropriate, while

taking into consideration his understanding of prison policies, without running afoul of the Eighth

Amendment. See Stewart v. Wexford Health Sources, Inc., 14 F.4th 757, 764-65 (7th Cir. 2021)

(allowing medical professionals to “default to the security needs of the prison unless the medical

professional determines that an exemption is required for medical reasons”). This is so even though

the UIC physician labeled Plaintiff’s condition “complex”. See id. (“as an outside provider, [the

inmate’s treater] was not in a position to assess the security concerns of the prison”).

B.     Defendant Colbacchini

       Plaintiff’s response clarifies that his claim against Officer Colbacchini is in the vein of a

failure to protect claim. He argues that Colbacchini should have placed Plaintiff in the healthcare

unit or even a different living unit because he was “vulnerable” to attacks by his cellmate (and was

in fact ultimately attacked by him) due to his discomfort with Plaintiff’s frequent toilet use and his

use of suppositories. But after screening under 28 U.S.C. § 1915A, the Court permitted Plaintiff

to proceed on only an Eighth Amendment claims for deliberate indifference to his medical needs.

(Dkt. 44.) A claim against Colbacchini for failure to protect against his cellmate would not be

properly joined in this action with Plaintiff’s medical care claims against the Wexford Defendants.

See Owens v. Godinez, 860 F.3d 434, 436 (7th Cir. 2017) (citing Fed. R. Civ. P. 18, 20); George

v. Smith, 507 F.3d 605, 607 (7th Cir. 2007); Manson v. W. Illinois Corr. Ctr., No. 21-2941, 2022



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WL 4298559, at *1 (7th Cir. Sept. 19, 2022). Indeed, in January 2020, Plaintiff brought a separate

failure-to-protect action about the attack by his cellmate precipitated by his frequent toilet use

against numerous IDOC Defendants. See Jackson v. IDOC, et al., Case No. 20-cv-50021 (N.D.

Ill.).   Colbacchini was dismissed from that action along with several other Defendants in

September 2020 (id., Dkt. 28), and judgment was entered in favor of the remaining Defendants at

summary judgment in February 2024 (id., Dkt. 161, 162). Plaintiff does not get a “second bite at

the apple” now: even if Plaintiff’s legal theories or parties differ slightly, he may not litigate the

same claims, or split his claims about this incident, in multiple independent lawsuits, instead of

bringing all his claims in one proceeding. See, e.g., Carter v. J.P. Morgan Chase Bank, No. 16-

CV-9732, 2017 WL 1304117, at *3 (N.D. Ill. Apr. 7, 2017); Hermann v. Cencom Cable Assoc.,

Inc., 999 F.2d 223, 226 (7th Cir. 1993); Pennsylvania Chiropractic Ass’n v. Blue Cross Blue Shield

Ass'n, No. 09 C 5619, 2013 WL 5951505, at *3 (N.D. Ill. Nov. 7, 2013).

         As to the claim that was permitted to proceed in this case – namely, that Colbacchini was

deliberately indifferent to Plaintiff’s medical needs by not moving him from his cell to a bed in

the Healthcare Unit – she is entitled to summary judgment. The evidence is undisputed that she

did not have the authority to move Plaintiff to the Health Care Unit without an order from medical

staff. The Seventh Circuit has long recognized that non-medical personnel like Colbacchini are

entitled to defer to the judgment of a prison’s medical staff in a matter such as this. See Berry v.

Peterman, 604 F.3d 435, 440–41 (7th Cir. 2010) (non-medical administrator was entitled to defer

to the judgment of jail health professionals so long as he did not ignore the inmate). As the Seventh

Circuit stated in Berry, “the law encourages non-medical security and administrative personnel at

jails and prisons to defer to the professional medical judgments of the physicians and nurses

treating the prisoners in their care without fear of liability for doing so.” Id. at 440; see also Arnett



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v. Webster, 658 F.3d 742, 755 (7th Cir. 2011) (“if a prisoner is under the care of medical experts,

a non-medical prison official will generally be justified in believing that the prisoner is in capable

hands”).

                                                        ***

         For all the above reasons, the Court grants summary judgment in favor of the Wexford

Defendants (Dr. Zahtz, NP Tuell, and LPN Woodin) and Defendant Colbacchini, and terminates

this case. 2

                                                 CONCLUSION

         The Wexford Defendants’ motions for summary judgment [179] [180] are granted.

Defendant Colbacchini’s motion for summary judgment [189] is granted. Final judgment shall

enter. If Plaintiff wishes to appeal, he must file a notice of appeal with this Court within thirty

days of the entry of judgment. See Fed. R. App. P. 4(a)(1). If Plaintiff seeks leave to proceed in

forma pauperis on appeal, he must file a motion for leave to proceed in forma pauperis in this

Court. See Fed. R. App. P. 24(a)(1).



Date: March 21, 2025                          By:      ______ __________________________________
                                                       Iain D. Johnston
                                                       United States District Judge




2
  The Court notes that there are unserved, unidentified Defendants (John/Jane Doe “Kitchen Supervisors”) and one
additional Defendant (Central Supplies – Ms. Phool) who remain on the docket as active Defendants. These
Defendants were never served, although Plaintiff had ample instruction and opportunity to do so. Indeed, this Court
specifically denied Plaintiff’s request to file an amended complaint to name the John Doe “Kitchen Supervisors”,
finding that such amendment would be untimely. (Dkt. 170.) Consequently, dismissal is warranted as to all
unidentified and unserved Defendants. See Fed. R. Civ. P. 4(m); Fed. R. Civ. P. 56 (f); Fed. R. Civ. P. 15(c); see Ellis
v. Carper, 2024 U.S. App. LEXIS 24129, *8 (7th Cir., Sept. 23, 2024); citing Manley v. City of Chicago, 236 F.3d
392, 395 (7th Cir. 2001).

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